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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

LINDA KING AND TERRI REEKES, on
behalf of themselves and others similarly
situated,

              Plaintiffs,
                                                              Civil Action No. 3:15cv518-HEH
       v.

TRANSAMERICA PREMIER LIFE
INSURANCE COMPANY, and
MONUMENTAL LIFE INSURANCE
COMPANY,

              Defendants.



             JOINT MOTION FOR COURT APPROVAL OF SETTLEMENT

       COME NOW the Plaintiffs Linda King and Terri Reekes (“Plaintiffs”) and Transamerica

Premier Life Insurance Company and Monumental Life Insurance Company (“Defendants”), by

their respective counsel, and jointly move this Court for entry of an Order approving the

settlement reached by the Parties as a fair and reasonable settlement of a bona fide dispute

arising under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”). The Parties

incorporate herein the arguments set forth in the Memorandum of Law filed contemporaneously

with this Motion.

       WHEREFORE, for the reasons outlined above, and for the reasons contained in the

accompanying memorandum of law, and for all other reasons apparent to the Court, the Parties

respectfully request that this Court enter an Order approving the negotiated settlement as fair,

reasonable, and adequate, and dismissing the action with prejudice.
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Jointly submitted by:



        /s/                                            /s/________           ____ _____
Kevin D. Holden (Virginia Bar No. 30840)       Philip Justus Dean (Virginia Bar No. 86335)
Jackson Lewis P.C.                             Craig Juraj Curwood (Virginia Bar No. 43975)
1021 E. Cary Street, Suite 1200                Curwood Law Firm
Richmond, Virginia 23219                       530 E. Main Street, Suite 710
Tel.: (804) 649-0404                           Richmond, VA 23219
Fax: (804) 649-0403                            Telephone: (804) 788-0808
kevin.holden@jacksonlewis.com                  Fax: (804) 767-6777
                                               pdean@curwoodlaw.com
Natalie B. Kaminsky (pro hac vice)             ccurwood@curwoodlaw.com
Jackson Lewis, P.C.
10701 Parkridge Blvd., Suite 300               Counsel for Plaintiffs
Reston, Virginia 20191
Telephone: (703) 483-8300
Fax: (703) 483-8301
natalie.kaminsky@jacksonlewis.com

Counsel for Transamerica




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this __28th day of January 2016, I electronically filed the

foregoing with the Clerk of the court using the CM/ECF system which will send notification of

such filing (NEF) to the following:

       Kevin D. Holden, Esq.
       Natalie B. Kaminsky, Esq.
       1021 E. Cary Street
       Suite 1200
       Richmond, Virginia 23219
       Kevin.holden@jacksonlewis.com
       Natalie.kaminsky@jacksonlewis.com
       (804) 649-0404
       (804) 649-0403 (fax)
       Counsel for Defendants

                                              ___/s/_________________________
                                              Philip Justus Dean (VSB No. 86335)
                                              Craig Juraj Curwood (VSB No. 43975)
                                              Attorneys for Plaintiffs
                                              Curwood Law Firm, PLC
                                              530 E. Main Street, Suite 710
                                              Richmond, VA 23219
                                              Telephone: (804) 788-0808
                                              Fax: (804) 767-6777
                                              pdean@curwoodlaw.com
                                              ccurwood@curwoodlaw.com




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